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            EXHIBIT B
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                                                                                   Page 1
                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                    SAN FRANCISCO DIVISION
                __________________________
                IN RE MATTER OF:                         )
                RICHARD KADREY, et al.,                  )
                Plaintiff,                               )
                       vs.                               ) C.A. NO.:
                META PLATFORMS, INC.,                    ) 3:23-cv-03417-VC
                Defendant.                               )
                __________________________)


            ** HIGHLY CONFIDENTIAL - ATTORNEYS EYES ONLY **


                      VIDEOTAPED DEPOSITION OF JOELLE PINEAU
                                     Montreal, Quebec, Canada
                                 Wednesday, November 6, 2024


             Stenographically Reported by:
             ANGELA JANSSEN, CSR,
             Commissioner of Oaths
         ______________________________________________________
                               DIGITAL EVIDENCE GROUP
                          1730 M Street, NW, Suite 812
                               Washington, D.C. 20036
                                     (202) 232-0646



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                                                                                 Page 70
   1     probably come up with an answer.

   2                  Q.         Now LLaMA 1 was previously known

   3     as Genesis, right?

   4                  MS. HARTNETT:            Objection to form.

   5                  A.         We used that name internally for

   6     a short period, yes.

   7     BY MR. YOUNG

   8                  Q.         And eventually the decision was

   9     made to release the model as LLaMA as opposed to

 10      Genesis, right?

 11                   MS. HARTNETT:            Objection to form.

 12                   A.         Yes.

 13      BY MR. YOUNG

 14                   Q.         Was it due to association with a

 15      crypto platform released by the Winklevoss twins

 16      that was undergoing SEC investigation around that

 17      time?

 18                   MS. HARTNETT:            Objection to form.

 19                   A.         I don't remember that being a

 20      deciding factor in the name.

 21      BY MR. YOUNG

 22                   Q.         Okay.



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                                                                                 Page 71
   1                  A.         LLaMA is just a better name.

   2                  Q.         Not everyone at Meta agreed with

   3     you though?

   4                  A.         I'm well aware.

   5                  Q.         Now, when LLaMA 1 was released,

   6     it was released -- well, before we get to that.

   7                             Do you recall when this lawsuit

   8     was first filed against Meta?

   9                  MS. HARTNETT:            Objection to form.

 10                   A.         You mentioned it earlier, but I

 11      don't remember exactly.                Summer of 2023?

 12      BY MR. YOUNG

 13                   Q.         Do you know what the term "shadow

 14      library" means?

 15                   A.         No.

 16                   Q.         Have you ever heard of dataset

 17      known as Library Genesis or LibGen?

 18                   A.         LibGen rings a bell, but I don't

 19      know the specifics.

 20                   Q.         What about Sci-Hub?                Have you

 21      heard of a dataset known as Sci-Hub?

 22                   A.         Sci-Hub, no.



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                                                                                Page 366
   1                  Q.         Do you recall if Dr. Presani ever

   2     expressed concerns about the use of pirated

   3     datasets to others in FAIR to train Generative AI

   4     models?

   5                  MS. HARTNETT:            Objection to the form.

   6                  A.         I don't remember Dr. Presani

   7     expressing concerns about the use of specific

   8     datasets in training models.

   9     BY MR. YOUNG

 10                   Q.         Do you remember if Dr. Presani

 11      ever expressed to you the concerns about using

 12      LibGen to train Generative AI models at Meta?

 13                   MS. HARTNETT:            Objection to the form.

 14                   A.         I don't remember them expressing

 15      concern about that.

 16      BY MR. YOUNG

 17                   Q.         Have you ever used with WhatsApp

 18      to discuss details about datasets used to train

 19      Generative AI models at Meta?

 20                   A.         I don't remember using WhatsApp

 21      to discuss this with anyone.

 22                   Q.         Have you ever used WhatsApp to



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